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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:08-cr-134

v.                                                          HON. JANET T. NEFF

LEROY THURMAN, JR.,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Leroy Thurman, Jr. has filed a motion for modification or reduction of sentence

(Dkt 167) pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table

with respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to cocaine base (crack

cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November

1, 2011. U.S.S.G. § 1B1.10(c).

       However, the defendant is ineligible for consideration of modification of sentence under 18

U.S.C. § 3582(c)(2), because the offense level originally used at sentencing is unchanged by the

retroactive amendment. The defendants offense level under U.S.S.G. § 2D1.1 was determined by

use of 49.36 grams of cocaine and 1.07 grams of cocaine base. Application of the new amendment

results in a conversion of these drugs to 9.8 and 3.8 kilograms of marijuana respectively. The 13.6
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kilograms of marijuana calls for an offense level of 16. This is the same offense level used at the

original sentencing. Even applying a 1:1 crack-to-powder ratio to the drug quantities results in an

offense level of 16 so under any calculation defendant is not entitled to relief.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 167) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.

       IT IS FURTHER ORDERED that defendant’s request for court appointed counsel is also

DENIED.



DATED: March 9, 2012                                   /s/ Janet T. Neff
                                                      JANET T. NEFF
                                                      United States District Judge




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